Case 3:17-cv-01602-BAS-LL    Document 28 Filed 11/20/18         PageID.775   Page 1 of
                                       10



  1

  2

  3

  4

  5

  6

  7

  8

  9

 10                         UNITED STATES DISTRICT COURT
 11                     SOUTHERN DISTRICT OF CALIFORNIA
 12

 13
       HARLEY SEEGERT, an individual,                  Case No. 17-cv-1602-BAS-LL
       on behalf of himself and all others
 14    similarly situated,                             ORDER DENYING MOTION
 15
                                                       FOR PRELIMINARY
                                                       APPROVAL OF CLASS ACTION
 16                                 Plaintiff,         SETTLEMENT
 17           v.
                                                       [ECF No. 21]
 18

 19
       LAMPS PLUS, INC.,

 20
                                  Defendant.
 21

 22

 23         Plaintiff Harley Seegert commenced this class action against Defendant Lamps
 24   Plus, Inc. seeking relief for violations of California’s Unfair Competition Law,
 25   California’s False Advertising Law, and California’s Consumer Legal Remedies Act.
 26   Plaintiff alleges Defendant engages in fraudulent pricing practices by labeling its
 27   merchandise with “Compare At” price tags without ever offering the product at the
 28   listed original price. (Compl. ¶¶ 3-8, ECF No. 1-3.) Plaintiff claims this deceptive

                                                 –1–                                17cv1602
Case 3:17-cv-01602-BAS-LL        Document 28 Filed 11/20/18            PageID.776      Page 2 of
                                           10



  1   pricing scheme leads Lamps Plus customers to believe they are receiving a discount,
  2   when in fact, they are paying the original retail price. (Id. ¶ 5.)
  3          Defendant removed the action to this Court under the Class Action Fairness
  4   Act (“CAFA”). Now, without opposition, Plaintiff moves for class certification and
  5   preliminary approval of a proposed settlement. (Mot., ECF No. 21-1.) The Court
  6   finds this motion suitable for determination based on the papers submitted and
  7   without oral argument. See Fed. R. Civ. P. 78(b); Civ. L.R. 7.1(d)(1). For the
  8   following reasons, the Court DENIES WITHOUT PREJUDICE Plaintiff’s motion
  9   for preliminary approval of class action settlement.
 10   I.     PROPOSED SETTLEMENT
 11          A.     Settlement Class
 12          After conducting an investigation of the facts, analyzing the relevant legal
 13   issues, and participating in a full-day mediation session before the Hon. Carl J. West
 14   (Ret.) of JAMS, Inc., the parties reached a proposed settlement of this matter
 15   (“Settlement”). (Settlement Agreement and Release (“Settlement Agreement”)
 16   Recitals D, E, ECF No. 21-2.)1 The Settlement applies to a proposed Class that is
 17   defined as:
 18
            All Lamps Plus customers who purchased Lamps Plus branded or
            trademarked merchandise bearing a “Compare At” price tag in the State
 19         of California from July 5, 2013 to the date of preliminary approval.
 20
            Excluded from the Class are Lamps Plus’s Counsel, Lamps Plus’s
            officers, directors and employees, and the judge presiding over the
 21         Action.
 22   (Id. § 1.9.) Defendant estimates the Class consists of at least 930,835 individuals. (Id.
 23   § 2.2.) Class Members who do not timely and sufficiently request to be excluded from
 24   the Settlement will remain members of the Class. (Id. § 1.12.) The parties seek to
 25   appoint Plaintiff as Class Representative and Plaintiff’s counsel, Todd Carpenter of
 26

 27
             1
 28            Capitalized terms used in this Order but not defined herein have the meanings ascribed to
      them in the Settlement Agreement.
                                                     –2–                                      17cv1602
Case 3:17-cv-01602-BAS-LL        Document 28 Filed 11/20/18           PageID.777       Page 3 of
                                           10



  1   Carlson Lynch Sweet Kilpela & Carpenter, LLP, as Class Counsel. (Id. §§ 1.27,
  2   3.1(g).)
  3           B.    Settlement Award
  4           Defendant denies all allegations of wrongdoing asserted by Plaintiff; however,
  5   Defendant wishes to settle this dispute in order to further avoid the expense and
  6   inconvenience of litigation. (Settlement Agreement Recital G.) Defendant agrees to
  7   provide each Class Member with a Voucher, which is defined as:
  8           a voucher good for a purchase in a Lamps Plus retail store in the United
  9
              States for either (i) $18 off a purchase (no minimum purchase), or (ii)
              20% off a purchase (of up to $150 in value) or $30 in credit against the
 10           purchase of any item valued at over $150.
 11   (Id. § 1.34.)2 The Settlement Agreement also notes:
 12           The Vouchers will have no expiration date. The Vouchers are good for a
              single use. The Vouchers are not stackable and may not be combined
 13
              with any other coupon or promotional offer. However, the Vouchers may
 14           be used on items that are on sale or otherwise discounted. The Vouchers
              shall not be redeemable for cash, and will not be replaced if lost, stolen,
 15
              or damaged. The Vouchers are transferrable.
 16   (Id.)
 17           Class Members will have the option to elect which form of the Voucher they
 18   prefer to receive. (Settlement Agreement § 2.1.) Any Class Member who does not
 19   receive a direct notice of the Class Action via email or mail must complete and submit
 20   a claim form to receive a Voucher. (Id. §§ 1.2, 1.3.)
 21           C.    Attorneys’ Fees and Settlement Costs
 22           The parties have agreed Class Counsel will not seek an award greater than
 23   $750,000 for attorneys’ fees and costs, and the Class Representative will not seek an
 24   incentive award greater than $5,000. (Settlement Agreement §§ 2.4, 2.5.)
 25

 26           2
                Plaintiff’s Motion for Preliminary Approval states the Vouchers may be used at “any
 27   Lamps Plus retail store or online.” (Mot. 14:11 (citing Settlement Agreement §§ 2.1-2.2).)
      However, the Settlement Agreement only provides that the Vouchers may be used “in a Lamps
 28   Plus retail store.” (Settlement Agreement § 2.1(a).) Thus, it is unclear whether the Vouchers may
      also be used online. (See id.)
                                                     –3–                                       17cv1602
Case 3:17-cv-01602-BAS-LL     Document 28 Filed 11/20/18        PageID.778    Page 4 of
                                        10



  1   II.   DISCUSSION
  2         “Congress passed CAFA ‘primarily to curb perceived abuses of the class
  3   action device.’” In re HP Inkjet Printer Litig., 716 F.3d 1173, 1177 (9th Cir. 2013)
  4   (quoting Tanoh v. Dow Chem. Co., 561 F.3d 945, 952 (9th Cir. 2009)). “One such
  5   perceived abuse is the coupon settlement, where defendants pay aggrieved class
  6   members in coupons or vouchers but pay class counsel in cash.” Id.; see also CAFA,
  7   Pub. L. No. 109-2, § 2, 119 Stat. 4, 4 (2005). Coupon settlements are highly
  8   scrutinized because there is a concern that class members are being “shortchanged.”
  9   Redman v. Radioshack Corp., 768 F.3d 622, 636-37 (7th Cir. 2014) (Posner, J.).
 10   Further, if a settlement awards coupons, CAFA “requires that ‘any attorney’s fee’
 11   awarded for obtaining coupon relief be calculated using the redemption value of the
 12   coupons.” In re HP Inkjet, 716 F.3d at 1184 (quoting 28 U.S.C. § 1712(a)). Thus,
 13   delineating settlements that award cash or cash-equivalent certificates from those
 14   awarding coupons significantly affects the calculation of attorneys’ fees. See id. at
 15   1182-86. Parties often attempt to avoid CAFA’s requirements by referring to class
 16   action settlement awards as “e-credits” or “vouchers,” when in fact the characteristics
 17   of these awards fit those of coupons. See id. at 1176 (describing the awarded “e-
 18   credits” as “a euphemism for coupons”); see also In re Sw. Airlines Voucher Litig.,
 19   799 F.3d 701, 704 (7th Cir. 2015) (“Despite the protests of class counsel, the
 20   replacement vouchers for free drinks on Southwest flights are indeed ‘coupons.’”).
 21         Accordingly, the Court will first consider whether the Vouchers to be awarded
 22   in this case are “coupons” under CAFA. See 28 U.S.C. § 1712. The Court will then
 23   determine whether granting preliminary approval of the Settlement is appropriate.
 24         A.     The Proposed Vouchers Are Coupons
 25         “Because Congress does not define the ambiguous term ‘coupon’ within
 26   [CAFA], ‘we may “look to other interpretive tools, including the legislative history”
 27   in order to determine the statute’s best meaning.’” In re Online DVD-Rental Antitrust
 28   Litig., 779 F.3d 934, 950 (9th Cir. 2015) (citing In re HP Inkjet, 716 F.3d at 1181).

                                               –4–                                  17cv1602
Case 3:17-cv-01602-BAS-LL       Document 28 Filed 11/20/18      PageID.779     Page 5 of
                                          10



  1   The Senate Judiciary Committee’s Report for CAFA provides examples of coupon
  2   settlements, including: “$25 to $55 off a future cruise,” “a $5 to $10 voucher good
  3   for future purchases of particular computer hardware or software products,” and $55
  4   toward the purchase of a new crib from a company accused of selling unsafe cribs.
  5   S. Rep. No. 109-14, at 15-20 (2005). “These discounts require class members to hand
  6   over more of their own money before they can take advantage of the coupon, and
  7   they often are only valid for select products or services.” In re Online DVD, 779 F.3d
  8   at 951.
  9             In evaluating whether certain credits qualify as coupons, three factors are
 10   considered: “(1) whether class members have to ‘hand over more of their own money
 11   before they can take advantage of’ a credit, (2) whether the credit is valid only ‘for
 12   select products or services,’ and (3) how much flexibility the credit provides,
 13   including whether it expires or is freely transferrable.” In re Easysaver Rewards
 14   Litig., 906 F.3d 747, 755 (9th Cir. 2018) (citing In re Online DVD, 779 F.3d at 951).
 15   Moreover, credits can be considered coupons when they only have value “if a class
 16   member is willing to do business again with the defendant who has injured her in
 17   some way, when the [credits] have modest value compared to the new purchase for
 18   which they must be used, and when the [credits] expire soon, are not transferable,
 19   and/or cannot be aggregated.” In re Sw. Airlines, 799 F.3d at 706; see also In re
 20   Easysaver, 906 F.3d at 755.
 21         In the present case, the parties propose providing Class Members with an $18
 22   Voucher expendable in a Lamps Plus retail store. (Settlement Agreement § 1.34.)
 23   Class Members can also opt to use the Voucher for either (i) 20% off a purchase of
 24   up to $150, or (ii) $30 in credit against the purchase of any item valued over $150.
 25   (Id.) With at least 930,835 estimated Class Members, Plaintiff attempts to value the
 26   Settlement at $16,755,030 by multiplying the number of Class Members by the price
 27   of the vouchers being distributed. (Mot. 8:3-8.) However, providing Class Members
 28   $18 in store credit is not as valuable as providing them $18 in cash. See, e.g., Redman,

                                                –5–                                  17cv1602
Case 3:17-cv-01602-BAS-LL     Document 28 Filed 11/20/18       PageID.780    Page 6 of
                                        10



  1   768 F.3d at 636-37 (discussing “the ways in which store credit for $10 is not
  2   as valuable to the recipient as $10 in cash”). And while the Settlement Agreement
  3   refers to the class reward as a “voucher” and not a “coupon,” the Senate Report on
  4   CAFA’s coupon provisions treats the term coupon as interchangeable with voucher.
  5   See S. Rep. No. 109-14; see also Redman v. RadioShack Corp., 768 F.3d at 636.
  6         Further, Defendant’s product offerings, Plaintiff’s alleged shopping
  7   experience, and comparisons with other cases demonstrate that the Vouchers offered
  8   in the Settlement are coupons. Plaintiff utilizes Defendant’s digital storefront when
  9   arguing the Vouchers are not coupons. (Mot. 8:8-12.) On its website, Lamps Plus
 10   proclaims itself to be “the nation’s largest lighting retailer.” Lamps Plus,
 11   https://www.lampsplus.com/ (last visited Nov. 14, 2018). It advertises approximately
 12   62,000 products including lamps, ceiling lights, furniture, and rugs, among other
 13   home décor. Id. Of the 62,000 products, only about 5,800 of them are under $18. Id.
 14   The narrow confines of items under $18 include: light bulbs, track lights, and deck
 15   lights. See id. (See also Mot. 8:8-12.) Most of the products actively promoted at
 16   Lamps     Plus    are    more    expensive     than    $18.    See    Lamps       Plus,
 17   https://www.lampsplus.com/. This fact suggests the Vouchers are coupons under
 18   CAFA. See In re Easysaver, 906 F.3d at 755; see also Redman, 768 F.3d at 636
 19   (concluding vouchers were coupons where it appeared the majority of the defendant’s
 20   products, including those that were “actively promoted and presumably most in
 21   demand by consumers,” were more expensive than the voucher amount).
 22         Plaintiff’s personal experience also supports the conclusion that the Vouchers
 23   are coupons. Plaintiff alleges to have gone to Lamps Plus to purchase a chest. (Compl.
 24   ¶ 13.) He encountered a 55 Downing Street branded Josephine 3-Drawer Mirrored
 25   Accent Chest with Silver Trim discounted from $899.99 to $599.99 and ultimately
 26   purchased it. (Id.) Plaintiff’s purchase of the $599.99 chest indicates he was enticed
 27   to shop at Lamps Plus for its furniture and home décor—products that are priced well
 28   above $18. See Lamps Plus, https://www.lampsplus.com/. And, in light of Plaintiff’s

                                               –6–                                  17cv1602
Case 3:17-cv-01602-BAS-LL     Document 28 Filed 11/20/18       PageID.781    Page 7 of
                                        10



  1   experience and the products actively promoted by Lamps Plus, it is likely that other
  2   customers were similarly interested in products more expensive than $18. This
  3   likelihood, too, supports that the proposed Vouchers qualify as coupons. See In re
  4   Easysaver, 906 F.3d at 755; see also Redman, 768 F.3d at 636-37.
  5         Finally, the proposed relief here can be distinguished from cash-equivalent
  6   certificates awarded in other cases. For example, in In re Online DVD, 779 F.3d at
  7   950, the Ninth Circuit concluded a $12 gift-card to Walmart.com was not considered
  8   a coupon because it offered class members a choice from thousands of products for
  9   which ordinary consumers have need. The products available at Lamps Plus are not
 10   everyday products required for purchase. Lamps, couches, tables, and other home
 11   décor are generally not essential items. Further, the class members in In re Online
 12   DVD also “had the option of obtaining cash instead of a gift card, undercutting the
 13   argument that the settlement forces them to buy from the defendant.” 779 F.3d at 950.
 14   There is no similar option here. Therefore, the Vouchers are not equivalent to cash.
 15   Rather, the Vouchers are coupons that will likely force the Class Members to spend
 16   more of their own money in order to realize the benefit of the settlement. See, e.g.,
 17   True v. Am. Honda Motor Co., 749 F. Supp. 2d 1052, 1075 (C.D. Cal. 2010)
 18   (reasoning that coupons aim to facilitate a sale to a purchaser who would not have
 19   otherwise purchased the product); see also Redman, 768 F.3d at 636.
 20         In sum, the Court concludes the Settlement’s Vouchers are coupons, and the
 21   Settlement will be scrutinized under CAFA’s requirements. See In re Easysaver, 906
 22   F.3d at 758.
 23         B.       The Settlement Is Not Compatible with CAFA
 24         Having concluded the Vouchers are coupons, the Court turns to whether the
 25   Settlement survives scrutiny under Rule 23(e)(2) and comports with CAFA. Prior to
 26   approving a settlement, the Court must make a preliminary determination of whether
 27   the class action settlement is “fair, reasonable, and adequate” pursuant to Rule
 28   23(e)(2). “It is the settlement taken as a whole, rather than the individual component

                                               –7–                                 17cv1602
Case 3:17-cv-01602-BAS-LL       Document 28 Filed 11/20/18      PageID.782    Page 8 of
                                          10



  1   parts, that must be examined for overall fairness.” Hanlon v. Chrysler Corp., 150
  2   F.3d 1011, 1026 (9th Cir. 1998). A court may not “delete, modify or substitute certain
  3   provisions” of the settlement; rather, “[t]he settlement must stand or fall in its
  4   entirety.” Id.
  5            CAFA further “regulate[s] coupon settlements” in “two forms.” In re HP
  6   Inkjet, 716 F.3d at 1178. “The first invites increased judicial scrutiny of coupon
  7   settlements generally.” Id. “In a proposed settlement under which class members
  8   would be awarded coupons, the court may approve the proposed settlement only after
  9   a hearing to determine whether, and making a written finding that, the settlement is
 10   fair, reasonable, and adequate for class members.” 28 U.S.C. § 1712(e).
 11            Second, as mentioned above, CAFA “imposes restrictions on attorney’s fee
 12   awards for class action settlements that provide class members relief in the form of
 13   coupons.” In re Easysaver, 906 F.3d at 754-55. One of these restrictions, § 1712(a),
 14   reads:
 15            If a proposed settlement in a class action provides for a recovery of
 16
               coupons to a class member, the portion of any attorney’s fee award to
               class counsel that is attributable to the award of the coupons shall be
 17            based on the value to class members of the coupons that are redeemed.
 18   28 U.S.C. § 1712(a). The Ninth Circuit interpreted this provision in In re HP Inkjet.
 19   716 F.3d at 1177-86. The Court of Appeals determined that “an attorneys’ fees award
 20   is ‘attributable to’ an award of coupons where the attorneys’ fees award is a
 21   ‘consequence’ of the award of coupons.” Id. at 1181. Therefore, “if the district court
 22   awards ‘any’ attorney’s fees, and those attorney’s fees are ‘attributable to the award
 23   of coupons,’ then the fees award must be calculated in the manner prescribed by
 24   § 1712(a) (i.e. using the redemption value of the coupons).” Id. And “when a
 25   settlement award “contains only coupons,” the fees award cannot be ‘attributable to’
 26   anything but the coupons.” Id. at 1182. Consequently, where a settlement provides
 27   only coupons to class members, the attorneys’ fees award must be based on the
 28   redemption value of the coupons. Id.

                                                –8–                                17cv1602
Case 3:17-cv-01602-BAS-LL        Document 28 Filed 11/20/18       PageID.783     Page 9 of
                                           10



  1            To comply with § 1712(a), the coupons must first be distributed and then
  2   valued based on the number of coupons redeemed. See 28 U.S.C. § 1712(a); see also
  3   In re HP Inkjet, 716 F.3d at 1186. A proposed settlement that precludes the
  4   calculation of the redemption value of the coupons is not compatible with CAFA. See
  5   28 U.S.C. § 1712(a); see also In re HP Inkjet, 716 F.3d at 1186-87. In In re HP Inkjet,
  6   the parties drafted their settlement agreement in a manner that specified the coupons
  7   would not be distributed “until after entry of a final judgment.” Id. at 1186. Because
  8   the coupons could not be allocated to class members until a final judgment was
  9   entered, “it would have been impossible for the district court to calculate the
 10   redemption value of the coupons as required by § 1712(a).” Id. The Ninth Circuit
 11   noted:
 12            By structuring the settlement in this way, the parties essentially invited
 13            the error here. Of course, had the settlement been structured so that the
               redemption value of the coupons was ascertainable before final
 14            settlement approval, plaintiffs’ attorneys would have been entitled to
 15            seek compensation for . . . the coupon . . . relief obtained for the class.

 16   Id.
 17            As determined above, the parties’ Settlement awards coupons to the Class
 18   Members and is subject to CAFA’s requirements. Similar to In re HP Inkjet,
 19   however, the parties’ Settlement Agreement provides that the Vouchers will be
 20   distributed only after the Final Settlement Date, which is “two Court days after the
 21   Final Order and Judgment” becomes final. (Settlement Agreement §§ 1.2, 2.2.) At
 22   that point, the parties contemplate that the action will have been “dimiss[ed] . . . with
 23   prejudice,” and the Court will have already “issu[ed] orders related to the relief
 24   provided for in the Settlement Agreement, including . . . payment of Plaintiff’s
 25   Individual Settlement Award, and payment of Class Counsel’s fees and costs.” (See
 26   id. § 3.10.) This structure will not allow the Court to ascertain the redemption value
 27   of the coupons “before final settlement approval,” and the Court is concerned that
 28

                                                  –9–                                  17cv1602
Case 3:17-cv-01602-BAS-LL          Document 28 Filed 11/20/18              PageID.784       Page 10
                                           of 10



 1   this structure “invite[s] [an] error” similar to that made by the district court in In re
 2   HP Inkjet. See 716 F.3d at 1186.
 3          In light of the foregoing, the Court is not convinced that the Settlement
 4   comports with CAFA’s requirements, and the Court denies without prejudice
 5   Plaintiff’s motion for preliminary approval of the Settlement. Should the parties still
 6   desire to provide Class Members with coupon relief, they should address the concerns
 7   raised in this Order and file a new motion for preliminary approval.3
 8

 9   III.   CONCLUSION
10          For the foregoing reasons, the Court DENIES WITHOUT PREJUDICE
11   Plaintiff’s motion for preliminary approval of class action settlement (ECF No. 21).
12          IT IS SO ORDERED.
13

14   DATED: November 19, 2018
15

16

17

18

19

20

21

22

23
            3
24            See In re HP Inkjet, 716 F.3d at 1186 n.19 (indicating how the parties and the district court
     may address the redemption value requirement); see also In re Easysaver, 906 F.3d at 760
25   (“Because the settlement dictates that the $20 credits will not be distributed until after the final
     settlement approval, it is impossible to calculate their redemption rate while the settlement is still
26
     pending. But, as we explained in In re HP, there are ways for the parties to address this challenge.
27   As one example, ‘a fees award can be bifurcated or staggered to take into account the speculative
     nature of at least a portion of a class recovery.’ Alternatively, the parties could amend the settlement
28   so that the redemption rate will be ascertainable before the entry of final judgment.” (citations
     omitted)).
                                                        – 10 –                                      17cv1602
